     Case 13-41518-TLS
 Fill in this information to identify the case:
                                                    Doc 57              Filed 11/09/18 Entered 11/09/18 16:52:01                                 Desc Main
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B 10 (Supplement 2) (12/11)              (post publication draft)
 Debtor 1              Ernest G. Foland
                       __________________________________________________________________

 Debtor 2               Barbara J. Foland
                        ________________________________________________________________
 (Spouse, if filing)

                                                                            NE
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                                      (State)
 Case number            13-41518-TLS
                        ___________________________________________




Form 4100R
Response to Notice of Final Cure Payment                                                                                                                     10/15

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.



 Part 1:         Mortgage Information

                                  U.S. Bank Trust National Association, as Trustee of the SCIG Series III Trust                      Court claim no. (if known):
 Name of creditor:                ______________________________________                                                             3
                                                                                                                                     _________________
                                                                                                                    2 ____
                                                                                                                  ____  1 ____
                                                                                                                            7 ____
                                                                                                                                 7
 Last 4 digits of any number you use to identify the debtor’s account:

 Property address:                717 Fuller Street
                                  ________________________________________________
                                  Number     Street

                                  _______________________________________________

                                  Fullerton, NE 68638
                                  ________________________________________________
                                  City                        State    ZIP Code



 Part 2:         Prepetition Default Payments

  Check one:

        Creditor agrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim.
        Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default
        on the creditor’s claim. Creditor asserts that the total prepetition amount remaining unpaid as of the date                                    $ __________
        of this response is:


 Part 3:         Postpetition Mortgage Payment

  Check one:

        Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of
        the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.

        The next postpetition payment from the debtor(s) is due on:                                       ____/_____/______
                                                                                                          MM / DD / YYYY

        Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5)
        of the Bankruptcy Code, including all fees, charges, expenses, escrow, and costs.
        Creditor asserts that the total amount remaining unpaid as of the date of this response is:
        a. Total postpetition ongoing payments due:                                                                                              (a)     2146.30
                                                                                                                                                       $ __________
        b. Total fees, charges, expenses, escrow, and costs outstanding:                                                                     +   (b)     (573.83)
                                                                                                                                                       $ __________
        c. Total. Add lines a and b.                                                                                                             (c)     1572.47
                                                                                                                                                       $ __________
        Creditor asserts that the debtor(s) are contractually
        obligated for the postpetition payment(s) that first became                                        09     21  2018
                                                                                                          ____/_____/______
        due on:                                                                                           MM / DD / YYYY


Form 4100R                                                              Response to Notice of Final Cure Payment                                            page 1
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Debtor 1        Ernest G. Foland
                _______________________________________________________                                              13-41518-TLS
                                                                                              Case number (if known) _____________________________________
                First Name      Middle Name               Last Name




 Part 4:       Itemized Payment History


  If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the
  debtor(s) are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs,
  the creditor must attach an itemized payment history disclosing the following amounts from the date of the
  bankruptcy filing through the date of this response:
         all payments received;
         all fees, costs, escrow, and expenses assessed to the mortgage; and
         all amounts the creditor contends remain unpaid.




 Part 5:       Sign Here


  The person completing this response must sign it. The response must be filed as a supplement to the creditor’s
  proof of claim.

  Check the appropriate box::

         I am the creditor.
         I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this response is true and correct
 to the best of my knowledge, information, and reasonable belief.
 Sign and print your name and your title, if any, and state your address and telephone number if different
 from the notice address listed on the proof of claim to which this response applies.




               û /s/ Michelle Ghidotti
                   __________________________________________________
                   Signature
                                                                                              Date    11 09 2018
                                                                                                      ____/_____/________




 Print             Michelle Ghidotti, Esq.
                   _________________________________________________________                  Title   Authorized Agent for Creditor
                                                                                                      ___________________________________
                   First Name                      Middle Name         Last Name




 Company           The Law Offices of Michelle Ghidotti
                   _________________________________________________________



 If different from the notice address listed on the proof of claim to which this response applies:



 Address           1920 Old Tustin Ave.
                   _________________________________________________________
                   Number                 Street


                   Santa Ana, CA 92705
                   ___________________________________________________
                   City                                                State       ZIP Code




 Contact phone      949 _____–
                   (______) 427 _________
                                2010                                                                mghidotti@ghidottilaw.com
                                                                                              Email ________________________




Form 4100R                                                        Response to Notice of Final Cure Payment                                       page 2
                                                Case 13-41518-TLS                                        Doc 57               Filed 11/09/18 Entered 11/09/18 16:52:01                                                                      Desc Main
                                                                                                                              Document     Page 3 of 5
                                                                                                                     Payment Changes
                                                                         Date                      P&I                  Escrow       Total                     Notice Filed
                                                                                 8/21/2013               $914.59           $147.90         $1,062.49           Filed w/POC
                                                                                10/21/2013               $914.59           $150.65         $1,065.24           Filed w/POC
                                                                                12/21/2017               $914.59           $158.56         $1,073.15           NOPC
                                                                                                                             $0.00                             NOPC
                                                                                                                             $0.00
                                                                                                                             $0.00
                      Loan Information
Loan #                           2177
Borrower                  Foland
BK Case #                 13-41518
Date Filed                8/8/2013
First Post Petition
Due Date                  8/21/2013
POC Covers                3/21/12-7/21/13

         Date                     Amount Rcvd      Post Pet Due Date       Contractual Due Date          Amt Due         Over/Short     Suspense Credit         Suspense Debit    Suspense Balance    POC Arrears Credit   POC Debit        POC Suspense Balance    POC Paid to Date   Comments
                                                 **Missing Prior Servicer's Payment History from
                                                               8/8/13-10/10/16**                                                $0.00                                                         $0.00                                                         $0.00              $0.00
          10/24/2016               $1,065.24           3/21/2016                10/21/2015               $1,065.24              $0.00                                                         $0.00                                                         $0.00              $0.00
          11/21/2016                               Trustee Payment                                                              $0.00                                                         $0.00              $502.33                                  $502.33           $502.33
           12/2/2016                               Trustee Payment                                                              $0.00                                                         $0.00              $500.00                                $1,002.33          $1,002.33
           12/7/2016               $9,640.32           4/21/2016                11/21/2015               $1,065.24          $8,575.08           $8,575.08                                 $8,575.08                                                     $1,002.33          $1,002.33
           12/7/2016                                   5/21/2016                12/21/2015                                      $0.00                                 $1,065.24           $7,509.84                                                     $1,002.33          $1,002.33
           12/7/2016                                   6/21/2016                 1/21/2016                                      $0.00                                 $1,065.24           $6,444.60                                                     $1,002.33          $1,002.33
           12/7/2016                                   7/21/2016                 2/21/2016                                      $0.00                                 $1,065.24           $5,379.36                                                     $1,002.33          $1,002.33
           12/7/2016                                   8/21/2016                 3/21/2016                                      $0.00                                 $1,065.24           $4,314.12                                                     $1,002.33          $1,002.33
           12/7/2016                                   9/21/2016                 4/21/2016                                      $0.00                                 $1,065.24           $3,248.88                                                     $1,002.33          $1,002.33
           12/7/2016                                  10/21/2016                 5/21/2016                                      $0.00                                 $1,065.24           $2,183.64                                                     $1,002.33          $1,002.33
           12/7/2016                                  11/21/2016                 6/21/2016                                      $0.00                                 $1,065.24           $1,118.40                                                     $1,002.33          $1,002.33
           12/7/2016                                  12/21/2016                 7/21/2016                                      $0.00                                 $1,065.24              $53.16                                                     $1,002.33          $1,002.33
           1/11/2017               $1,064.00           1/21/2017                 8/21/2016               $1,065.24             -$1.24                                     $1.24              $51.92                                                     $1,002.33          $1,002.33
           1/30/2017                               Trustee Payment                                                              $0.00                                                        $51.92            $1,000.00                                $2,002.33          $2,002.33
           3/14/2017               $1,067.00           2/21/2017                 9/21/2016               $1,065.24              $1.76                  $1.76                                 $53.68                                                     $2,002.33          $2,002.33
           3/21/2017                              PRE-Petition Applied          10/21/2016                                      $0.00                                                        $53.68                             $1,065.24                 $937.09          $2,002.33
           4/24/2017               $1,065.24           3/21/2017                11/21/2016               $1,065.24              $0.00                                                        $53.68                                                       $937.09          $2,002.33
            5/1/2017                               Trustee Payment                                                              $0.00                                                        $53.68              $500.00                                $1,437.09          $2,502.33
           5/30/2017                               Trustee Payment                                                              $0.00                                                        $53.68            $1,000.00                                $2,437.09          $3,502.33
           5/31/2017                              PRE-Petition Applied          12/21/2016                                      $0.00                                                        $53.68                             $1,065.24               $1,371.85          $3,502.33
           5/31/2017               $1,065.24           4/21/2017                 1/21/2017               $1,065.24              $0.00                                                        $53.68                                                     $1,371.85          $3,502.33
            7/7/2017               $1,065.24           5/21/2017                 2/21/2017               $1,065.24              $0.00                                                        $53.68                                                     $1,371.85          $3,502.33
            8/1/2017               $1,065.24           6/21/2017                 3/21/2017               $1,065.24              $0.00                                                        $53.68                                                     $1,371.85          $3,502.33
            8/9/2017                               Trustee Payment                                                              $0.00                                                        $53.68            $1,000.00                                $2,371.85          $4,502.33
           8/11/2017                              PRE-Petition Applied          4/21/2017                                       $0.00                                                        $53.68                             $1,065.24               $1,306.61          $4,502.33
            9/5/2017               $2,143.44           7/21/2017                5/21/2017                $1,065.24          $1,078.20           $1,078.20                                 $1,131.88                                                     $1,306.61          $4,502.33
            9/5/2017                                   8/21/2017                6/21/2017                $1,065.24         -$1,065.24                                 $1,065.24              $66.64                                                     $1,306.61          $4,502.33
           9/25/2017                               Trustee Payment                                                              $0.00                                                        $66.64              $500.00                                $1,806.61          $5,002.33
           9/28/2017                              PRE-Petition Applied          7/21/2017                                       $0.00                                                        $66.64                             $1,065.24                 $741.37          $5,002.33
          10/11/2017               $1,065.24           9/21/2017                8/21/2017                $1,065.24              $0.00                                                        $66.64                                                       $741.37          $5,002.33
          10/30/2017                               Trustee Payment                                                              $0.00                                                        $66.64              $500.00                                $1,241.37          $5,502.33
          11/14/2017               $1,074.00          10/21/2017                9/21/2017                $1,065.24              $8.76                  $8.76                                 $75.40                                                     $1,241.37          $5,502.33
          11/22/2017                               Trustee Payment                                                              $0.00                                                        $75.40              $495.41                                $1,736.78          $5,997.74
          12/14/2017               $4,265.72          11/21/2017                10/21/2017               $1,065.24          $3,200.48           $3,200.48                                 $3,275.88                                                     $1,736.78          $5,997.74
            1/2/2018                               Trustee Payment                                                              $0.00                                                     $3,275.88              $495.41                                $2,232.19          $6,493.15
            2/9/2018                               Trustee Payment                                                              $0.00                                                     $3,275.88              $495.41                                $2,727.60          $6,988.56
            3/5/2018                               Trustee Payment                                                              $0.00                                                     $3,275.88              $495.41                                $3,223.01          $7,483.97
            3/6/2018               $1,066.00          12/21/2017                11/21/2017               $1,073.15             -$7.15                                     $7.15           $3,268.73                                                     $3,223.01          $7,483.97
            4/4/2018                               Trustee Payment                                                              $0.00                                                     $3,268.73              $233.95                                $3,456.96          $7,717.92
           4/13/2018               $1,065.24           1/21/2018                12/21/2017               $1,073.15             -$7.91                                     $7.91           $3,260.82                                                     $3,456.96          $7,717.92
           5/30/2018               $1,089.82           2/21/2018                 1/21/2018               $1,073.15             $16.67              $16.67                                 $3,277.49                                                     $3,456.96          $7,717.92
            7/3/2018               $1,600.00           3/21/2018                 2/21/2018               $1,073.15            $526.85             $526.85                                 $3,804.34                                                     $3,456.96          $7,717.92
           9/12/2018               $1,070.00           4/21/2018                 3/21/2018               $1,073.15             -$3.15                                     $3.15           $3,801.19                                                     $3,456.96          $7,717.92
          10/16/2018               $1,065.24           5/21/2018                 4/21/2018               $1,073.15             -$7.91                                     $7.91           $3,793.28                                                     $3,456.96          $7,717.92
          10/16/2018                                   6/21/2018                5/21/2018                $1,073.15         -$1,073.15                                 $1,073.15           $2,720.13                                                     $3,456.96          $7,717.92
          10/16/2018                                   7/21/2018                6/21/2018                $1,073.15         -$1,073.15                                 $1,073.15           $1,646.98                                                     $3,456.96          $7,717.92
          10/16/2018                                   8/21/2018                7/21/2018                $1,073.15         -$1,073.15                                 $1,073.15             $573.83                                                     $3,456.96          $7,717.92
          10/16/2018                              PRE-Petition Applied          8/21/2018                                       $0.00                                                       $573.83                            $1,065.24                $2,391.72          $7,717.92
                                                                                                                                $0.00                                                      $573.83                                                      $2,391.72          $7,717.92
                                                                                                                                $0.00                                                      $573.83                                                      $2,391.72          $7,717.92
                                                                                                                                $0.00                                                      $573.83                                                      $2,391.72          $7,717.92
                                                                                                                                $0.00                                                      $573.83                                                      $2,391.72          $7,717.92
                                                                                                                                $0.00                                                      $573.83                                                      $2,391.72          $7,717.92
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1    Michelle R. Ghidotti-Gonsalves, Esq. (SBN 232837)
     Kristin A. Zilberstein (SBN 24104960)
2    LAW OFFICES OF MICHELLE GHIDOTTI
3    1920 Old Tustin Ave.
     Santa Ana, CA 92705
4    Ph: (949) 427-2010
     Fax: (949) 427-2732
5    mghidotti@ghidottilaw.com
6
     Authorized Agent for Creditor
7    U.S. Bank Trust National Association, as Trustee of the SCIG Series III Trust
8                             UNITED STATES BANKRUPTCY COURT
9                        DISTRICT OF NEBRASKA –LINCOLN OFFICE DIVISION
10
11
     In Re:                                               )   CASE NO.: 13-41518-TLS
12                                                        )
13   ERNEST G. FOLAND and BARBARA J.                      )   CHAPTER 13
     FOLAND,                                              )
14                                                        )   CERTIFICATE OF SERVICE
              Debtors.                                    )
15
                                                          )
16                                                        )
                                                          )
17                                                        )
18
19                                    CERTIFICATE OF SERVICE
20
              I am employed in the County of Orange, State of California. I am over the age of
21
22   eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

23   Santa Ana, CA 92705.
24
              I am readily familiar with the business’s practice for collection and processing of
25
     correspondence for mailing with the United States Postal Service; such correspondence would
26
     be deposited with the United States Postal Service the same day of deposit in the ordinary
27
28   course of business.




                                                      1
                                       CERTIFICATE OF SERVICE
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1    On November 9, 2018 I served the following documents described as:
2                  RESPONSE TO NOTICE OF FINAL CURE PAYMENT
3
     on the interested parties in this action by placing a true and correct copy thereof in a sealed
4
     envelope addressed as follows:
5
6    (Via United States Mail)
     Debtor                                              Trustee
7    Ernest G. Foland                                    Kathleen Laughlin
8    717 Fuller St.                                      Chapter 13 Trustee's Office
     P.O. Box 503                                        13930 Gold Circle
9    Fullerton, Ne 68638                                 Suite 201
                                                         Omaha, NE 68144
10   Joint Debtor
11   Barbara J. Foland                                   U.S. Trustee
     717 Fuller St.                                      Jerry Jensen
12   P.O. Box 503                                        Acting Assistant UST
     Fullerton, Ne 68638                                 U.S. Trustee's Office
13
                                                         111 South 18th Plz, Suite 1148
14   Debtors’ Counsel                                    Omaha, NE 68102
     Jeremiah Luebbe
15   Steffens Law Office
16   P.O. Box 363
     255 So. 10th Ave.,
17   Broken Bow, NE 6882
18   _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
19   the United States Postal Service by placing them for collection and mailing on that date
     following ordinary business practices.
20
     ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
21   Eastern District of California
22
     __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
23   America that the foregoing is true and correct.
24
            Executed on November 9, 2018 at Santa Ana, California
25
     /s / Steven P. Swartzell
26   Steven P. Swartzell
27
28



                                                     2
                                      CERTIFICATE OF SERVICE
